          Case 1:19-cr-00018-ABJ Document 183 Filed 08/09/19 Page 1 of 9



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA,

          v.                                                   Criminal No. 19-cr-18-ABJ
    ROGER J. STONE, JR.,

                         Defendant.




      DEMOCRATIC NATIONAL COMMITTEE AND DCCC’S MEMORANDUM IN
    SUPPORT OF THEIR MOTION FOR LEAVE AND OPPOSITION TO DEFENDANT’S
                     REQUEST FOR RULE 17(C) SUBPOENA
        The Democratic National Committee (“DNC”) and DCCC, a/k/a Democratic

Congressional Campaign Committee, hereby submit this Memorandum in Support of their Motion

for Leave and Opposition to Defendant Roger Stone’s “Motion for an Order Permitting Defendant

Roger J. Stone to Issue Early Return Subpoena Duces Tecum to CrowdStrike Holdings, Inc.,

CrowdStrike Services, Inc., and CrowdStrike, Inc., Pursuant to Federal Rule of Criminal

Procedure 17(c)” (hereinafter, “Motion to Subpoena CrowdStrike” or “subpoena request”), ECF

160.

                                        INTRODUCTION
        Defendant Roger Stone has asked this Court to grant him unfettered access to privileged

and highly sensitive documents that would reveal internal strategies of his political opponents, but

are entirely irrelevant to the charges levied against him. Specifically, Stone’s request for a Rule

17(c) subpoena seeks unredacted versions of three reports that were prepared by CrowdStrike 1 at   0F




the instruction of counsel for the DNC and DCCC, for the purpose of providing legal advice on

the heels of an unprecedented cyberattack orchestrated by Russian-based hackers during the 2016

presidential election. While Stone’s request is directed toward CrowdStrike, the documents he

1
 Defendant’s requested subpoenas are addressed to CrowdStrike Holdings, Inc., CrowdStrike Services,
Inc., and CrowdStrike, Inc. This Motion will refer to the three entities collectively as “CrowdStrike.”
         Case 1:19-cr-00018-ABJ Document 183 Filed 08/09/19 Page 2 of 9




seeks—and the privileges they implicate—belong to the DNC and DCCC, which are the proper

targets of his subpoena. Both organizations (among other high-profile Democrats) were victims of

the 2016 cyberattack and have a strong interest in preventing the publication of the unredacted

reports that contain, among other things, recommendations for remediating and preventing future

attacks, which are protected by the attorney-client privilege, the work product doctrine, and the

First Amendment privilege, and the release of which would potentially expose the DNC and DCCC

to significant harm.

       The information Stone seeks, to be sure, has no evidentiary value in this case. The grand

jury’s seven-count indictment charges Stone with obstructing investigations into Russian

interference in the 2016 presidential elections, lying to Congress, and witness tampering, none of

which have anything to do with CrowdStrike’s investigation of the DNC and DCCC cyberattack.

It is telling that Stone’s Motion makes no reference to any of the false statements that he is accused

of making, and instead relies entirely on wishful thinking that he might uncover evidence showing

that Russian intelligence was not involved in the DNC and DCCC cyberattack, notwithstanding

the consensus of the U.S. intelligence community. 2   1F




       But even if Stone were to find such evidence, CrowdStrike’s investigation could not

possibly be relevant to any plausible defense against the perjury and witness tampering allegations

set forth in the indictment. Although the Government does not intend to respond to Stone’s

subpoena request, it, too, has made clear in previous filings that the unredacted reports are not

relevant to the charges against Stone. ECF 123, 153. Granting Stone access to these documents

would allow him to invade the internal strategy of his political opponents—simply by issuing the

subpoena to CrowdStrike as opposed to the DNC and DCCC—and would reveal highly sensitive

and privileged materials that have no evidentiary value in his criminal proceedings, all while


2
  See Daniel R. Coats, Statement for the Record. Worldwide Threat Assessment of the US Intelligence
Community,       Office    of   the   Director    of National     Intelligence   (Feb.   13,     2018)
https://www.dni.gov/files/documents/Newsroom/Testimonies/Final-2018-ATA---Unclassified---
SASC.pdf at 6, (“We expect that Russia will conduct bolder and more disruptive cyber operations during
the next year,” including “hack-and-leak influence operations.”).

                                                  2
          Case 1:19-cr-00018-ABJ Document 183 Filed 08/09/19 Page 3 of 9




leaving the DNC and DCCC with little opportunity to protect their interests.

        Finally, in considering Stone’s request, context matters. The indictment in this case alleges

that Stone not only obstructed investigations into Russian interference in the 2016 presidential

election, but also requested the release of stolen emails that he believed would be damaging to the

Democratic presidential nominee. ECF 1 ¶ 30. He has already violated this Court’s orders by

posting repeatedly on social media about court proceedings, including, notably, several posts

referencing the CrowdStrike reports. ECF 136 at 4-5. And now he seeks access to unredacted

versions of the reports—which contain privileged and highly sensitive materials, created at the

behest of the DNC’s and DCCC’s legal counsel in the aftermath of a politically motivated

cyberattack that Stone allegedly attempted to exploit for political gain, ECF 1 ¶ 30—but provides

no details on “what he expect[s] to find and why he expect[s] to find it.” United States v. Bing

Tang Vo, 78 F. Supp. 3d 171, 181 (D.D.C. 2015). Such requests, particularly when directed toward

a litigant’s political opponents, require heightened vigilance to prevent the abuse of the subpoena

process; and the concerns the DNC and DCCC have raised, in addition to Stone’s failure to
demonstrate any legitimate basis for seeking the unredacted reports, provide all the more reason

why this Court should deny his request to subpoena CrowdStrike.

                                           BACKGROUND

        In the 2015-2016 election cycle, the DNC, DCCC, and other high-profile Democrats were

victimized by an unprecedented, politically motivated cyberattack, which the intelligence

community and law enforcement officials have universally concluded was orchestrated by Russian

intelligence operatives. 3 In the aftermath of the attack—once the DNC and DCCC learned of it—
                         2F




counsel for the DNC and DCCC retained CrowdStrike, a cybersecurity technology firm, to conduct

a forensic analysis of the intrusion in order to assist counsel in advising both political organizations

on issues related to the breach. Counsel for the DNC and DCCC subsequently provided redacted

versions of these reports to law enforcement officials, protecting from disclosure highly sensitive,

3
 See, e.g., Office of the Director of National Intelligence, Assessing Russian Activities and Intentions in
Recent US Elections (Jan. 6, 2017), https://www.dni.gov/files/documents/ICA_2017_01.pdf

                                                    3
          Case 1:19-cr-00018-ABJ Document 183 Filed 08/09/19 Page 4 of 9




privileged materials relating to remediation efforts and future strategic plans. ECF 123 at 1-3.

        On January 24, 2019, a grand jury returned a seven-count indictment against Roger Stone

(“Stone Indictment”) for obstructing the investigations into Russian interference in the 2016

presidential election (count 1); making false statements before the U.S. House of Representatives

Permanent Select Committee on Intelligence (“HPSCI”) and U.S. Senate Select Committee on

Intelligence (“SSCI”) (counts 2-6); and witness tampering (count 7). ECF 1. The indictment

alleges that Stone made numerous false statements concerning his possession of documents

pertinent to HPSCI’s investigation, id. ¶¶ 21-23; his contacts and communications with an entity

referenced in the indictment as “Organization 1,” id. ¶¶ 25-34; his communications with the Trump

campaign, id. ¶ 35; and that Stone attempted to prevent another witness from cooperating with the

investigation, id. ¶¶ 36-39.

        The CrowdStrike reports and the false statements alleged in the Stone Indictment are

largely unrelated. The indictment makes passing reference to the DNC’s and DCCC’s retention of

a “security company . . . to identify the extent of the intrusions” in its introductory explanation of

the 2016 cyberattack but does not otherwise cite or rely upon the reports created as part and parcel

of that company’s investigation in any of the allegations against Stone. Id. ¶ 1. Nonetheless, Stone

has filed to date a motion to compel unredacted versions of the CrowdStrike reports, ECF 103, and

a separate request to issue a Rule 17(c) subpoena to CrowdStrike for the unredacted reports along

with all drafts. ECF 160.

        In both motions, Stone makes no argument that the reports either refute or support the

perjury or witness tampering allegations against him, nor does he identify any portion of the

reports—which the Government provided in redacted form—that would suggest that the limited

redactions contain information that is in any way relevant to these proceedings. Instead, Stone’s

subpoena request seeks to turn his own criminal trial into a fishing expedition against his political

opponents, who were the victims of a crime that Stone is alleged to have exploited for his own

political ends.



                                                  4
          Case 1:19-cr-00018-ABJ Document 183 Filed 08/09/19 Page 5 of 9



                                            ARGUMENT

A.      The DNC and DCCC are Entitled to Assert Their Interests in Preventing the
        Disclosure of Privileged and Highly Sensitive Documents in These Proceedings.
        At issue in this Motion is the threatened disclosure of highly sensitive and privileged

materials that have been redacted from internal reports that were commissioned by counsel for the

DNC and DCCC, and the release of which would cause significant harm to these political

organizations. Although the Federal Rules of Criminal Procedure do not expressly provide for

intervention, “[f]ederal courts have frequently permitted third parties to assert their interests in

preventing disclosure of material sought in criminal proceedings or in preventing further access to
materials already so disclosed.” United States v. Hubbard, 650 F.2d 293, 311 n.67 (D.C. Cir. 1980)

(citing cases). The DNC’s and DCCC’s “interest in protecting privileged materials from compelled

disclosure is threatened,” and the Government has made clear that it does not intend to enforce

that interest, ECF 164, thus Stone’s request presents “a paradigmatic case of entitlement to

intervention as of right.” In re Grand Jury Proceedings, 201 F. Supp. 2d 5, 9 (D.D.C. 1999).

        While the proposed subpoena is directed to CrowdStrike, any potentially responsive

records that CrowdStrike may have consist of attorney work product prepared for the DNC and

DCCC; as such, the privileges implicated by the redacted portions of the CrowdStrike reports also

belong to the DNC and DCCC. Neither the Government nor CrowdStrike are appropriately

positioned to protect those interests, 4 and thus intervention, for the limited purpose of challenging
                                      3F




Stone’s subpoena request, is warranted. See id. (“[T]hough the grand jury subpoenas sought to be

quashed are directed to the [] firm and not to [the movant] any asserted attorney-client privilege

attaching to these documents would be held by the [client movant].”).

B.      Stone’s Subpoena Request is Improper Because it Fails to Establish the Relevance of
        the Materials He Seeks.
        At the outset, Stone’s Motion makes clear that he is engaged in a fishing expedition and



4
 The Government, while noting that the CrowdStrike reports are not relevant to the charges against Stone,
ECF 123 at 2-3, has indicated that it does not intend to file any response to Stone’s request to subpoena
CrowdStrike, ECF 164.

                                                   5
         Case 1:19-cr-00018-ABJ Document 183 Filed 08/09/19 Page 6 of 9




cannot meet the Rule 17 requirements. See Fed. R. Crim. P. 17(c). It is well established that “[a]

subpoena duces tecum may not be used for the purpose of discovery . . . to ascertain the existence

of documentary evidence,” “[r]ather, it may be used to obtain only evidentiary materials,” and

“[t]he burden rests with the party issuing a subpoena to show (1) relevancy; (2) admissibility; and

(3) specificity.” United States v. Binh Tang Vo, 78 F. Supp. 3d 171, 180 (D.D.C. 2015) (citations

and quotation marks omitted). “[M]aterials may be subpoenaed under Rule 17(c) only if there is a

good-faith effort made to obtain evidence.” United States v. Edwards, 191 F. Supp. 2d 88, 89

(D.D.C. 2002) (quotation marks omitted). Stone’s request, in contrast, fails to demonstrate the

relevance or admissibility of the materials he seeks from CrowdStrike, and his explanation of what

he hopes to find in the unredacted reports is entirely vague. His Motion merely alleges that the

unredacted copies “likely contain evidence that is material to the Defendant’s innocence,” but does

not even attempt to explain what that evidence might be, ECF 160 at 1-2. He similarly concludes,

without elucidating information or explanation, that the unredacted reports are necessary to prove
the materiality provision of the perjury counts. Id.

       Both claims defy logic when compared with the allegations in his indictment. Stone is

alleged to have testified falsely concerning his possession of documents pertinent to HPSCI’s

investigation, ECF 1 ¶¶ 21-23; his contacts and communications with an entity referenced in the

indictment as “Organization 1,” id. ¶¶ 25-34; his communications with the Trump campaign, id. ¶

35; and is also alleged to have attempted to prevent another witness from cooperating with the

investigation, id. ¶¶ 36-39; but, as the Government has previously explained, he is not charged

with conspiracy to hack the DNC or DCCC. ECF 123 at 2. The unredacted CrowdStrike reports

do not have any clear connection to any of these charges against him, and Stone’s subpoena request

does little to explain how any of these materials could possibly be relevant to his defense, other

than to baldly speculate that they may exonerate him.

       Rule 17(c) requires more: specifically, “[a] link that explains what the [movant] expected

to find and why [he] expected to find it.” Binh Tang Vo, 78 F. Supp. 3d at 181. This “specificity

requirement” is satisfied if “there is a substantial likelihood, demonstrated through rational

                                                  6
         Case 1:19-cr-00018-ABJ Document 183 Filed 08/09/19 Page 7 of 9




inferences, that the documents being sought contain relevant and admissible evidence.” Id.

(quoting United States v. Libby, 432 F. Supp. 2d 26, 31 (D.C. Cir. 2006)). Stone’s subpoena request

contains no such explanation and falls well short of the applicable Rule 17(c) standards, thus his

Motion to Subpoena CrowdStrike should be denied on that basis alone.

C.     Stone’s Subpoena Request Seeks to Invade the DNC’s and DCCC’s Attorney-Client,
       Attorney Work Product, and First Amendment Privileges.
       Compounding Stone’s failure to establish the relevance of the documents he seeks is the

inevitable intrusion on the attorney-client privilege, attorney-work product doctrine, and the First

Amendment privileges held by the DNC and DCCC. As the Government explained in previous

filings, CrowdStrike prepared the reports at the direction of the DNC’s and DCCC’s legal counsel,

ECF 123 at 1, for the purpose of providing legal advice and in anticipation of possible legal action

by or against the DNC or DCCC. “So long as obtaining or providing legal advice was one of the

significant purposes of [an] internal investigation … even if there were also other purposes for the

investigation and even if the investigation was mandated by regulation rather than simply an

exercise of the company discretion,” attorney-client privilege protects communications among a

client, client’s counsel, and entities engaged to assist in the investigation. In re Kellogg Brown &

Root, Inc., 756 F.3d 754, 758-59 (D.C. Cir. 2014).
       The privilege, moreover, extends not just to communications that explicitly contain legal
advice or opinion work product, but also covers “purely factual exchanges” in the context of an

internal investigation conducted by non-attorneys, “when those facts are provided to the attorney

at his request for the purpose of enabling him to provide legal advice.” Fed. Trade Comm’n v.

Boehringer Ingelheim Pharm., Inc., 180 F. Supp. 3d 1, 16 (D.D.C. 2016), aff’d, 892 F. 3d 1254

(D.C. Cir. 2018). The proposed subpoena attached to Stone’s Motion plainly intrudes on these

privileges by seeking all unredacted drafts and final reports issued by CrowdStrike to counsel for

the purpose of counsel providing legal advice relating to the DNC and DCCC cyberattack;

accordingly, the reports are subject to the attorney-client privilege and the work product doctrine.

       And because the DNC and DCCC are political organizations, Stone’s broad request for all


                                                 7
          Case 1:19-cr-00018-ABJ Document 183 Filed 08/09/19 Page 8 of 9




unredacted reports relating to a politically motivated cyberattack also threatens to intrude upon

internal deliberations and strategy, the disclosure of which may cause significant First Amendment

injury. Here, the application of the First Amendment privilege “turns not on the type of information

sought, but on whether disclosure of the information will have a deterrent effect on the exercise of

protected [First Amendment] activities.” Perry v. Schwarzenegger, 591 F.3d 1147, 1162 (9th Cir.

2010) (citing Nat’l Ass’n for Advancement of Colored People v. State of Alabama ex rel Patterson,

357 U.S. 449, 460-61 (1958)). Where the release of confidential, internal communications might

“encourage[] political opponents” to harass their competitors with discovery requests “to serve the

dual purpose of ‘chilling’ the expressive efforts of their competitor and learning their political

strategy so that it can be exploited to the complainant’s advantage” or otherwise “frustrate

[political parties’] decisions as to ‘how to organize’ [themselves], [or] conduct . . . [their] affairs,’”

Am. Fed’n of Labor & Cong. Of Indus. Organizations v. Fed. Election Comm’n, 333 F.3d 168,

177-78 (D.C. Cir. 2003) (citing Eu v. San Francisco Cty. Democratic Cent. Comm., 489 U.S. 214,

230-31 & n. 21 (1989)), the First Amendment protects such materials against compelled
disclosure. See id.; see also Ohio Organizing Collaborative v. Husted, 2:15-cv-01802, 2015 WL

7008530, at *3 (S.D. Ohio Nov. 12, 2015) (rejecting argument that plaintiffs could only

demonstrate First Amendment infringement if they presented evidence of threats, harassment, or

reprisals, and recognizing the proper test is whether the party invoking the privilege

“demonstrate[s] an objectively reasonable probability that” disclosure “would have a chilling

effect on [their] First Amendment associational rights”).

        Allowing a litigant to obtain materials reflecting a political opponent’s internal strategy,

including materials that potentially jeopardize its cybersecurity, poses a serious risk of chilling

First Amendment protected activity. In this case, it would hinder the DNC’s and DCCC’s ability

to work with cybersecurity specialists to advance their missions and defend against politically

motivated attacks like the one that occurred in the 2016 presidential election. Id. (“[D]isclosure of

such sensitive information in the context of highly charged litigation involving issues of great

political controversy would have a chilling effect on plaintiffs’ freedom of association by adversely

                                                    8
         Case 1:19-cr-00018-ABJ Document 183 Filed 08/09/19 Page 9 of 9




impacting their ability to organize, promote their message(s), and conduct their affairs.”).

Compelled disclosure of the unredacted reports under these circumstances would set a troubling

precedent and would incentivize parties to harass political entities like the DNC and DCCC

through the discovery process.

                                       CONCLUSION

       For the reasons set forth above, the DNC and DCCC respectfully request that their Motion

for Leave be granted and Defendant’s Motion to Subpoena CrowdStrike be denied.



 Dated: August 8, 2019                    Respectfully submitted,

                                          /s/ Uzoma Nkwonta
                                          Marc E. Elias
                                          Uzoma N. Nkwonta
                                          PERKINS COIE LLP
                                          700 Thirteenth Street, N.W., Suite 600
                                          Washington, D.C. 20005-3960
                                          (202) 654-6200
                                          (202) 654-6211 (fax)
                                          MElias@perkinscoie.com
                                          UNkwonta@perkinscoie.com

                                          Counsel for the Democratic National Committee
                                          and DCCC




                                              9
